          Case 4:22-cv-01490-JST Document 228 Filed 11/16/23 Page 1 of 3



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 9
                                     UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                           OAKLAND DIVISION
12

13
     LAURI VALJAKKA,                                      Case No.: 4:22-cv-01490-JST
14
                        Plaintiff,                        REPLY ISO NETFLIX’S MOTION
15                                                        FOR AN ORDER TO SHOW CAUSE
            v.
16                                                        Judge:     Hon. Jon S. Tigar
     NETFLIX, INC.,
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                        Defendant.
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                 REPLY ISO NETFLIX’S MOTION FOR AN ORDER TO SHOW CAUSE
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      REPLY ISO MOT.                                                   CASE NO.: 4:22-CV-01490-JST
          Case 4:22-cv-01490-JST Document 228 Filed 11/16/23 Page 2 of 3



 1          On November 6, 2023, Netflix filed a Motion For An Order To Show Cause Why Valjakka
 2   And His Agents Should Not Be Held In Civil Contempt For Their Failure To Comply With This
 3   Court’s Preliminary Injunction. Dkt. No. 216. In its Motion, Netflix expressed concern that:
 4      (1) Valjakka testified in deposition that he had not read the Court’s preliminary injunction (“PI”)
 5          Order (see Mot. at 4:1-8, 8:19-22);
 6      (2) Valjakka’s deposition testimony demonstrated that he did not have an accurate understanding
 7          of the Court’s PI Order (see Mot. at 4:9-5:13, 8:23-9:3);
 8      (3) Valjakka testified in deposition that he had asked his attorneys to clarify the Court’s PI Order,
 9          but they had failed to do so (see Mot. at 9:3-4); and
10      (4) Neither the Ramey Firm nor AiPi demonstrated compliance with the Court’s PI Order, nor
11          appeared to acknowledge they were subject to the Court’s PI Order. See Mot. at 3:11-24, 5:19-
12          6:8, 9:10-10:12.
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14          Valjakka’s November 9, 2023 Response (Dkt. No. 224) does not resolve or moot the issues
15   above at least because:
16      (1) Valjakka’s Response does not state that Valjakka read the Court’s PI Order;
17      (2) Valjakka’s Response does not state that Valjakka believes his counsel adequately explained
18          the Court’s PI Order to him; and
19      (3) Valjakka’s response does not respond to any of the allegations against AiPi, even though
20          Valjakka and AiPi share counsel. Valjakka states that “[a]ll Enforcement Assets were
21          transferred to AiPi.” (Dkt. No. 224 at 2) and Ramey stated that AiPi “controls” the Enforcement
22          Assets (Dkt. No. 224-1, 3:11-13). AiPi’s adherence to the Court’s PI Order is highly material.
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24          Among other unanswered concerns. Netflix respectfully submits that contrary to his assertions
25   (see Resp. at 1:25-27), Valjakka has not demonstrated that Netflix’s Motion has been mooted.
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      REPLY ISO MOT.                                                       CASE NO.: 4:22-CV-01490-JST
        Case 4:22-cv-01490-JST Document 228 Filed 11/16/23 Page 3 of 3



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     REPLY ISO MOT.                                           CASE NO.: 4:22-CV-01490-JST
